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                         UNITIED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                                  (GREENBELT)
                                   Civil Division

Jenna Marie Calton
1904 Curry Road
Lutz, FL 33549

Renee Lynn DeBoard-Lucas
6288 Old Washington Road
Elkridge, MD 21075

Alison Marie Kramer-Kuhn
46 Fenceline Drive
Gaithersburg, MD 20878                        JURY TRIAL DEMANDED

Emily Farrell Picon
5230 Tuckerman Lane, Apt. 820
North Bethesda, MD 20852

and                                           CASE NO.: 8:21-cv-01171

Stephanie Wolf
8206 Kenfield Court
Bethesda, MD 20817

v.

Montgomery County
Serve Marc Elrich,
Montgomery County Executive
101 Monroe Street, Second Floor
Rockville, Maryland 20850

Tree House Child Advocacy Center
7300 Calhoun Place, Suite 700
Rockville, MD 20855

Thomas A. Grazio
c/o Montgomery County Child Welfare
Services Program
1301 Picard Drive
Rockville, MD 20850

Loretta St. John



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 7300 Calhoun Place, Suite 700
 Rockville, MD 20855


 and

 Charles Regan
 c/o Derwood Partners
 15533 Grinnell Ter
 Derwood, MD 20855


                                          COMPLAINT

       Plaintiffs file this Complaint for various tort claims and violation of federal, state and

local statutes and are seeking compensatory and punitive damages and equitable relief from the

Tree House Child Advocacy Center, Inc., Montgomery County, Thomas A. Grazio, Loretta St.

John and Charles Regan.

                                   NATURE OF THE CASE

1. This action arises from Defendants’ illegal firing of five licensed mental health providers

   serving child victims of abuse and neglect after Plaintiffs made protected, good-faith reports

   of fraud and malfeasance at the Tree House Child Advocacy Center (“Tree House”). The

   Tree House nominally operates as a private-public partnership with the Montgomery County

   Department of Health and Human Services, but in all practical respects, it functions as a

   branch of Montgomery County Government itself, and at all relevant times Montgomery

   County co-employed Plaintiffs with the Tree House. Defendants carried out the textbook

   whistleblower retaliation with bold transparency and with shocking disregard for the welfare

   of Plaintiffs’ vulnerable patients. In addition to their whistleblower retaliation claims,

   Plaintiffs seek redress for the Defendants’ violation of Title VII of the Civil Rights Act of

   1964, common law tort claims for reputational harm, wrongful termination, and intentional




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   interference with business relationships. Dr. Stephanie Wolf also asserts claims for slander

   and libel.

                                           PARTIES

Plaintiffs

2. Jenna Calton, PhD, is a licensed psychologist in Maryland, Virginia, and Florida. She was

   employed by the Tree House as postdoctoral fellow in 2017 and continued to work for Tree

   House as a Licensed Psychologist after her fellowship. She remained in this role until she

   was illegally terminated on September 23, 2020.

3. Renee Lynn DeBoard-Lucas, PhD, is a licensed psychologist in Maryland. She started

   working for Tree House as a Staff Psychologist in or around December of 2019. She

   remained in this role until she was illegally terminated on September 23, 2020.

4. Alison Marie Kramer-Kuhn, PhD, is licensed psychologist in Maryland. She started working

   for Tree House as a Licensed Psychologist in July 2016. She remained in this role until she

   was constructively discharged from her position on or about September 18, 2020.

5. Emily Farrell Picon, LCSW-C, is a licensed clinical social worker in Maryland. She started

   working as a Mental Health Therapist for Tree House in June of 2018. She remained in this

   role until she was illegally terminated on September 23, 2020.

6. Stephanie Wolf, JD, PhD, is a licensed psychologist in Maryland, Virginia, and the District

   of Columbia. She started as a fellow at Tree House in April of 2014. She was hired as a

   psychologist in 2015 and became the Mental Health Director in January 2016. She

   transitioned to the role of Psychologist in July 2020 to work on a part-time basis and

   continued in that role until she was illegally terminated on August 23, 2020.




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7. All Plaintiffs timely filed charges of discriminatory retaliation against the Defendants with

   the Equal Employment Opportunity Commission and all Plaintiffs received notice of right to

   sue letters.

Defendants

8. Montgomery County, Maryland, is a charter county created pursuant to Local Government

   Article 25A and, therefore, is included in the meaning of “local government” as defined in

   Courts and Judicial Proceedings Article Section 5-401(d)(1) of the Annotated Code of

   Maryland. Montgomery County was responsible for the oversight and management of Tree

   House through its employee Tom Grazio.

9. The Tree House Child Advocacy Center of Montgomery County, Inc. is a Maryland

   corporation that at all times relevant to this action was run and overseen by an Executive

   Director who was a Montgomery County Employee, received the majority of its funding

   from Montgomery County, was operated from a building where other Montgomery County

   services were provided to residents and received other in-kind services from Montgomery

   County.

10. Tom Grazio is a Montgomery County employee who at all times relevant to this action acted

   as Executive Director of Tree House while a supervisory level employee of Montgomery

   County.

11. Loretta St. John worked as an administrator at the Tree House staring in or around 2013 and

   was the Tree House’s Director of Operations starting in October of 2017.

12. Charles Regan was a founding member of the Tree House Board of Directors and is currently

   its president.




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                                 JURISDICTION AND VENUE

13. This Court has original jurisdiction over the subject matter of this action pursuant to 28

   U.S.C. § 1331 (federal question), 28 U.S.C. § 1343(a)(3) and (4) (civil rights jurisdiction),

   and 28 U.S.C. § 1367 (supplemental jurisdiction) because the matters in controversy arise

   under the laws of the Constitution of the United States, including Title VII, which is a law

   providing for the protection of civil rights.

14. This Court has supplemental jurisdiction over Defendants with respect to Plaintiffs’ state law

   and county code claims pursuant to 28 U.S.C. § 1367 because those claims arise from a

   common nucleus of operative facts and are so related to the claims in the action within the

   original jurisdiction of the Court that they form part of the same case or controversy.

15. This Court has the authority to enter a declaratory judgment and to provide preliminary and

   permanent injunctive relief pursuant to Rules 57 and 65 of the Federal Rules of Civil

   Procedure, and 28 U.S.C. §§ 2201 and 2202.

16. Venue is proper in the United States District Court for the District of Maryland under 28

   U.S.C. § 1391(b)(2) because a substantial part of the acts or omissions giving rise to the

   claims herein occurred in this judicial district.

                                                   FACTS

17. Tree House provides free mental health services, medical assessments and victim advocacy

   for children who are suspected to have been physically or sexually abused. It is the only

   accredited Child Advocacy Center in Montgomery County. As such, its clients are extremely

   vulnerable children and their families.




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18. Tree House offers its clients multi-disciplinary services including medical and forensic

   examinations and psychological services.

19. Therapy is provided by the Mental Health department, which is headed by a Mental Health

   Director. Dr. Wolf was the Mental Health Director from January 2016 until July 2020.

   Plaintiffs were all members of the Mental Health department.

20. During their tenure at Tree House, the Plaintiffs noticed and reported various concerns they

   had with the operations of the organization and the treatment of clients to Tree House

   management, including Defendant Grazio and Defendant St. John. These reports were

   almost always met with derision and acts of retaliation, like being given the silent treatment,

   changing job duties, and denial of request for resources.

21. In 2020, not only did these concerns continue, but new concerns continued to arise,

   particularly in April/May regarding how Tree House was handling the Covid Pandemic and

   in late May or early June with its hiring of a new Mental Health Director.

22. Dr. Wolf had been acting as the Mental Health Director starting in January 2016 and held the

   position on a part-time basis. In May of 2020, Defendants Grazio and St. John told Dr. Wolf

   that the position was going to be full-time and asked if she would stay in that capacity. Dr.

   Wolf declined to take the position but agreed to remain part-time as a psychologist. She

   officially transitioned to that role of psychologist in July 2020.

23. Dr. Kramer-Kuhn applied for the full-time Mental Health Director position on May 31, 2020.

   The following day Defendants Grazio and St. John informed Dr. Kramer-Kuhn that her

   position would be eliminated.

24. On or about July 2020 there was a change in leadership at the Tree House Board of Directors.

   Defendant Regan became the President.




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25. Plaintiffs were hopeful about this change and believed that Defendant Regan would be

   receptive to their concerns.

26. In or around the end of April 2020, Dr. Kramer-Kuhn informally spoke with William

   Schlossenberg, a development consultant who attended board meetings whom she considered

   an ally, about some of these concerns. Schlossenberg told her that the Board planned to

   evaluate Defendants Grazio and St. John’s performance in two months. Dr. Kramer-Kuhn

   asked him to include the staff in the process.

27. Plaintiffs were not included in this process.

28. Plaintiffs decide to report their concerns directly to the Board.

29. On June 9, 2020, Plaintiffs sent a letter detailing their concerns to Defendant Regan copying

   another board member, Dr. Samantha Bender.

30. The letter reported the following misconduct:

       a. Material Misrepresentations in Annual Reports:

                i. The Tree House Annual Reports for 2017, 2018 and 2019 misreported the

                   number of clients served. When Plaintiffs informed Defendant St. John of this

                   error in 2017, she corrected the error, but she did not correct it for the other

                   years.

               ii. Because potential donors rely on the Annual Reports, Plaintiffs reasonably

                   believed that this misreporting was a criminal violation of the Maryland

                   Solicitations Act.

       b. Providing False or Misleading Information to Montgomery County Council,

           accreditation agencies and funders and misuse of grant funds.




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        i. During a Health and Human Services work session on September 23, 2019,

           Defendant Grazio misrepresented the mental health providers’ caseloads and

           ability to address vicarious trauma. He also misled the Council about how the

           Tree House provided services to non-English speaking children.

       ii. In 2019, when Defendant Grazio learned that Tree House did not meet the

           National Children’s Alliance Accreditation standards, he told employees that

           they would “just lie” about standards they could not meet just as he had done

           for the first accreditation that he had overseen. Similarly, when staff informed

           Defendant St. John that they had over-reported the number of clients provided

           services in a grant, she did not correct it because she did not believe it would

           be noticed.

      iii. Defendants Grazio and St. John provided misleading job descriptions in grant

           applications and reports to circumvent staffing requirements or avoid

           reporting that funded positions functioned outside the scope of work.

           Similarly, Defendant St. John altered staff timesheets to make it look like staff

           was spending more time on grant projects and asked staff members to sign

           them.

c. Failure to meet licensure requirements: Defendant Grazio failed to ensure that

   therapists with LMSW licenses received the supervision required by Maryland Heath

   Occupations Title §19-307.

d. Failure to protect personal health information (PHI):

        i. Defendant Grazio provided his login information to CHESSIE, a child welfare

           database system to employees. This allowed unauthorized access to PHI




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          about children. Defendants Grazio and St. John also instructed a Tree House

          staff member to do CPS background checks of staff and volunteers using

          Grazio’s login information, risking exposure of PHI and other sensitive and

          personal information to unauthorized parties. Defendants claimed that they

          could not afford to do the background checks properly, even though the

          checks were actually free.

       ii. Tree House did not have proper systems to label store and track clients’ files

          containing PHI. Paper files and DVDs of forensic interviews were kept

          haphazardly and could easily be accessed by unauthorized parties.

e. Creating a hostile work environment because of gender:

       i. Defendant Grazio created a hostile working environment for the Tree House’s

          one openly LGBTQ employee, including playing a “prank” where he posted

          photos of the employee throughout the building and led the employee to

          believe there were more photos in Law Enforcement and Child Welfare

          Offices. Defendant Grazio also targeted this employee for public criticism in

          staff meetings, making unwarranted remarks about her work ethic and eating

          habits.

       ii. Plaintiffs reasonably believed that Defendant Grazio took these actions

          because of the employee’s non-gender conforming sexual identity.

      iii. Defendant Grazio frequently referred to women as “bitches,” told off-color

          and gender-biased jokes, and talked to them about notorious celebrity sexual

          assault allegations at inappropriate times, belittling female staff members’

          safety concerns and telling staff members that “silence equals consent.” In a




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                   workplace that focused on helping victims of sexual abuse, this language was

                   particularly inappropriate and created a hostile working environment for

                   female employees.

               iv. Plaintiffs reasonably believed that this behavior violated the Maryland Civil

                   Rights Act.

31. Plaintiffs attached several emails and other documents to the letter as evidence of their

   concerns.

32. Plaintiffs signed the letter as “the Mental Health Department.” Plaintiffs specifically noted

   that they are afraid of retaliation and have asked Dr. Kramer-Kuhn to be their representative

   because her position was going to be eliminated. Dr. Kramer-Kuhn emailed the letter to

   Defendant Regan and to Dr. Bender.

33. In response, Defendant Regan said that he and Bender would discuss the letter in confidence.

   Dr. Bender thanked Dr. Kramer-Kuhn, and apologized that things have been difficult for so

   long. Defendant Regan also asked who else had seen the letter.

34. Dr. Kramer-Kuhn acknowledged that some other members of the Mental Health department

   had seen the documents.

35. Defendant Regan asked to set up a meeting on June 17 or 18. Dr. Kramer-Kuhn pushed for

   an earlier date because of the seriousness of their concerns.

36. While scheduling the meeting, Defendant Regan reminded Dr. Kramer-Kuhn of the control

   that Montgomery County exercises over the Tree House and urged caution because of the

   risk that the County could shut down the Tree House. In this conversation, Defendant Regan

   referred to Defendant St. John as a Montgomery County employee, when in fact St. John was




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   the highest-ranking Tree House employee and the Board was responsible for her

   employment.

37. Plaintiffs Kramer-Kuhn, Picon and Wolf ultimately met with Defendant Regan and Dr.

   Bender on June 12, 2020.

38. During the meeting, Defendant Regan and Dr. Bender asked for additional documentation.

   Dr. Kramer-Kuhn forwarded the requested documents and continued to keep them informed

   about the hiring process for the Mental Health Director. In particular, she expressed

   Plaintiffs’ concerns that no one from the Mental Health Department was included in the

   hiring process even though the Tree House’s forensic interviewer and the Pediatrician

   participated in the interviews .

39. After additional discussions, Dr. Kramer-Kuhn told Defendant Regan that he can use the

   letter and refer to her and Dr. Wolf by name as the authors if necessary.

40. On June 23, 2020 Defendant Regan informed Plaintiffs that he and other board members met

   with Lisa Merkin and other Montgomery County officials about Plaintiffs’ concerns.

   According to Defendant Regan, Merkin was troubled that Plaintiffs had not approached her

   directly. Regan explained that the Plaintiffs feared retaliation from Defendant Grazio.

41. Defendant Regan also told Plaintiffs that Defendants Grazio and St. John warned him that

   “disgruntled” staff from the Mental Health department might contact him. According to

   Defendant Regan, he did not reveal his earlier communications with Plaintiffs during this

   conversation.

42. Plaintiff Kramer-Kuhn continued to keep the board informed about the ongoing issues at the

   Tree House.




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43. Upon information and belief, at some point during this process Defendants Grazio and St.

   John learned about Plaintiffs’ letter.

44. In or around late June 2020, the Tree House hired Molly Cupid as the Mental Health

   Director. Ms. Cupid came directly from years as a child welfare worker. She was

   unqualified to oversee the mental health services that Tree House provided to its clients due

   to her limited clinical experience and lack of certification in TFCBT, one of the requirements

   of the job posting that Defendants created. Plaintiffs further believed Defendant Grazio and

   St. John selected Cupid because she would not recognize or report their malfeasance.

45. On June 25, 2020, Defendant St. John informed Dr. Kramer-Kuhn that she was not selected

   as Mental Health Director because she was not a “good fit” for the position and informed her

   that Cupid would be taking the job. Although the Board had decided that Dr. Kramer-Kuhn

   could remain at Tree House as a therapist and grant writer, Defendant St. John allowed her to

   believe that that her job was ending because she had not been selected as the Mental Health

   Director.

46. Several days later, on the afternoon of her last scheduled workday, Defendant St. John finally

   informed Dr. Kramer-Kuhn that she could stay at Tree House for three more months.

47. Once Cupid started work, Dr. Wolf was expected to provide the majority of her training and

   orientation. She did so, and provided detailed documentation of its completion to Regan, St.

   John, and Grazio.

48. Upon information and belief, by mid-July, Defendants had told Cupid that they intended to

   fire Dr. Wolf.

49. On July 20, 2020, Dr. Kramer-Kuhn sent an email to Cupid asking her to meet with the

   Mental Health department, in part to discuss the number of clients they were expected to see.




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50. The following day, Defendant St. John sent Dr. Kramer-Kuhn a disciplinary report. The

   report admonished her for questioning the number of clients therapists were expected to see

   and for speaking with other members of the Mental Health Team without permission.

51. The disciplinary report indicated that Dr. Kramer-Kuhn would be fired if she did not agree to

   its terms. Under this duress, Dr. Kramer-Kuhn signed and returned the report.

52. The next day, Kristi Johnson-Ford, a program manager from the Montgomery County

   Department of Health and Human Services’ Human Resources and Labor Team emailed the

   Tree House Staff informing them that her department was investigating an anonymous

   complaint and giving staff interview dates.

53. On August 20, 2020, Plaintiffs sent a follow-up to the investigative team, outlining their

   concerns about Cupid’s qualifications and actions as Mental Health Director.

54. Four days later, during a Webex meeting on August 24, 2020, Defendants Regan and St.

   John and Ms. Cupid informed Dr. Wolf that she was being fired for cause. Upon information

   and belief, this decision was made with the approval of Defendants Grazio and Montgomery

   County.

55. Immediately thereafter, Defendants Grazio and St. John held an online meeting with the

   entire Tree House staff. During that meeting, with Defendant Grazio’s knowledge and

   consent, Defendant St. John announced that Dr. Wolf had been fired for cause.

56. By the actions described above, Defendants have made the terms and conditions of Dr.

   Kramer-Kuhn’s employment intolerable. In particular, the pretextual and unwarranted

   disciplinary action against her and the generally hostile treatment from Defendants and Cupid

   had made it impossible for Dr. Kramer-Kuhn to do her job within the ethical bounds of her

   profession. She was also afraid she would be fired, and that Defendants will attempt to




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   damage her professional reputation as they have done with Dr. Wolf. Dr. Kramer-Kuhn

   believed she had no choice but to tender her resignation.

57. Three days later, Cupid announced to the Mental Health Team that the Montgomery County

   Investigation is over and that the team could “set up a meeting to process the experience.”

58. Dissatisfied with this response, Plaintiffs determined that outside bodies and regulators

   should be informed of their concerns. On September 17, 2020 Plaintiffs forwarded copies of

   their June 9 letter to the Internal Revenue Service, the U.S, Equal Employment Opportunity

   Commission, the National Children’s Alliance, Maryland Attorney General, Maryland Board

   of Social Work Examiners, several Montgomery County offices and all member of the

   Montgomery County Council.

59. Dr. Kramer-Kuhn sent her letter of resignation to Defendant St. John on September 18, 2020.

60. On September 23, 2020, Defendants convened a virtual meeting and videoconference to fire

   Dr. Calton, Dr. DeBoard-Lucas and LCSW-C Picon together, as a group.

61. Defendants told three therapists they were fired because “their services were no longer

   needed,” despite the fact that Dr. Calton, Dr. DeBoard-Lucas and LCSW-C Picon were each

   actively treating a full caseload of clients.

62. The Tree House was running a waiting list for patients needing their services and did not

   have anyone who could provide the same treatments as Dr. Calton, Dr. DeBoard-Lucas and

   LCSW-C Picon or who could supervise the psychology trainees.

63. Defendants’ stated reason for terminating their employment was plainly false and a pretext

   for retaliation. Indeed, the Tree House could not meet the mental health needs of its clients

   and the many clients were abruptly left without desperately needed therapy and treatment.




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64. Even after being fired, Plaintiffs pleaded to Defendants to facilitate their continued treatment

   of their patients, which they offered to do pro bono until other arrangements could be made.

   Defendants rejected this offer, prioritizing their desire to punish Plaintiffs over the needs of

   the patients.

65. On information and belief, Defendants have told government agencies and other potential

   sources of clients for Plaintiffs that Plaintiffs were fired for cause or have otherwise made

   false and misleading statements to third parties about Plaintiffs’ tenure at the Tree House or

   their professional qualifications.

66. Upon information and belief, Defendants’ purpose in spreading this misinformation was to

   retaliate against Plaintiffs for disclosing serious misconduct by the Tree House management.

67. Plaintiffs have lost income because of the spread of this misinformation.

68. In addition to loss of income, Plaintiffs have suffered serious emotional distress from

   Defendants’ misconduct.

                   Enumerated Counts By All Plaintiffs Unless Noted Otherwise

                                        COUNT I
                Maryland Health Care Workers Whistleblower Protection Act
                        Against All Defendants Except Mr. Regan

69. Plaintiffs incorporate by reference all of the allegations contained in the proceeding

   paragraphs of the Complaint as if set forth fully herein.

70. Plaintiffs are licensed health care workers.

71. Plaintiffs reported, in writing, violations of regulations and other conduct that they

   reasonably believed posed a specific and substantial danger to the health and safety of their

   clients, to the Tree House board of directors, and internal management.




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72. After management and the Board failed to rectify these problems in a reasonable time,

   Plaintiffs made further disclosures to outside regulatory bodies.

73. Defendants terminated Plaintiffs’ employment in retaliation for threatening to make further

   disclosures. Plaintiff Kramer-Kuhn’s resignation was a constructive termination.

                                     COUNT II
             Common Law Wrongful Termination in Violation of Public Policy
                      Against All Defendants Except Mr. Regan

74. Plaintiffs incorporate by reference all of the allegations contained in the proceeding

   paragraphs of the Complaint as if set forth fully herein.

75. Plaintiffs disclosed serious malfeasance on the part of Tree House management, including

   fraudulent information in materials used by potential donors in choosing whether to donate to

   the Tree House.

76. Plaintiffs reasonably believed that this misreporting was a criminal violation of the Maryland

   Solicitations Act.

77. Plaintiffs were terminated from their positions with Tree House shortly after making these

   disclosures. Plaintiff Kramer-Kuhn’s resignation was a constructive termination.

78. Defendants knew about Plaintiffs’ disclosures and participated in deciding to terminate

   Plaintiffs’ employment.

79. Plaintiffs’ termination violated the clear public policy mandate of protecting charitable

   donors from fraud.

                                     COUNT III
              Common Law Tortious Interference With Business Relationships
                               Against All Defendants

80. Plaintiffs incorporate by reference all of the allegations contained in the proceeding

   paragraphs of the Complaint as if set forth fully herein.




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81. Defendants improperly terminated Plaintiffs’ employment with Tree House. Plaintiff

   Kramer-Kuhn’s resignation was a constructive termination

82. In doing so, Defendants intentionally gave the impression that these terminations were “for

   cause” or otherwise warranted by malfeasance or improper conduct by Plaintiffs.

83. On information and belief, Defendants provided information to government agencies and

   other potential sources of clients that Defendant knew would result in Plaintiffs not receiving

   referrals or other work from these sources.

84. Upon information and belief, Defendants’ purpose in spreading this misinformation was to

   retaliate against Plaintiffs for disclosing serious misconduct by the Tree House management.

85. Plaintiffs have lost income because of the spread of this misinformation.

                                     COUNT IV
                 Common Law Defamation (Libel, Slander, and False Light)
                     By Dr. Stephanie Wolf Against All Defendants

86. Plaintiffs incorporate by reference all of the allegations contained in the proceeding

   paragraphs of the Complaint as if set forth fully herein.

87. Defendant Regan knew that Plaintiffs were terminated from their positions at Tree House

   without cause.

88. On information and belief, Defendant Regan has told third parties that Plaintiffs were fired

   for cause and has made other false statements about their professional integrity.

89. Upon information and belief, Defendant Regan’s purpose in spreading this misinformation

   was to retaliate against Plaintiffs for disclosing serious misconduct by the Tree House

   management and cause them harm.

90. Plaintiffs have suffered actual harm because of Defendant Regan’s false statements.




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                                          COUNT V
    Retaliation in Violation of Title VII of the Civil Rights Act of 1964, Maryland State
          Government Article 20-602 and Montgomery County Code Chapter 27
           Against the Tree House, Montgomery County and Defendant Grazio

91. Plaintiffs incorporate by reference all of the allegations contained in the proceeding

   paragraphs of the Complaint as if set forth fully herein.

92. Plaintiffs complained that Defendant Grazio created a hostile working environment for the

   Tree House’s one openly LGBTQ employee, including playing a “prank” where he posted

   photos of the employee throughout the building and led the employee to believe there were

   more photos in Law Enforcement and Child Welfare Offices. Defendant Grazio also targeted

   this employee for public criticism in staff meetings, making unwarranted remarks about her

   work ethic and eating habits.

93. Plaintiffs reasonably believed that Defendant Grazio took these actions because of the

   employee’s non-gender conforming sexual identity.

94. Plaintiffs were terminated from their positions with Tree House shortly after making these

   disclosures. Plaintiff Kramer-Kuhn’s resignation was a constructive termination.

       WHEREFORE, Plaintiffs request that this Court:

       1) Award unspecified compensatory, punitive, and nominal damages against

           Defendants;

       2) Award equitable relief in the form of front and back pay;

       3) Award declaratory relief;

       4) Award attorney’s fees and court costs incurred in pursuing this matter; and

       5) Award any further relief that the nature of this case may require.

                                        JURY DEMAND

       Plaintiffs demand a trial by jury on those claims so triable.



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Dated: May 13, 2021
                                          /s/ Darrell Chambers
                                          Darrell Chambers [27256]
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